             Case 19-31006-sgj7                     Doc 258       Filed 10/26/20 Entered 10/26/20 11:54:08                                          Desc Main
                                                                 DocumentFORMPage
                                                                               1  1 of 3
                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                       Page:      1
                                                                   ASSET CASES
Case No:            19-31006         SGJ   Judge: Stacey G. Jernigan                                     Trustee Name: James W. Cunningham, Trustee
Case Name:          ATLAS STONE DISTRIBUTION, INC.                                                       Date Filed (f) or Converted (c):   05/29/19 (c)
                                                                                                         341(a) Meeting Date:               07/09/19
 For Period Ending: 10/26/20
                                                                                                         Claims Bar Date:                   11/18/19


                                 1                                         2                         3                 4               5                         6
                                                                                            Estimated Net Value
                                                                                             (Value Determined      Property                                Asset Fully
                                                                        Petition/             by Trustee, Less      Formally       Sale/Funds           Administered (FA)/
                         Asset Description                             Unscheduled           Liens, Exemptions,    Abandoned       Received by       Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values               and Other Costs)     OA=554(a)        the Estate                Assets

 1. Ck Acct # ***5398                                                                0.01                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 2. Ck Acct # ***4588                                                                0.00                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 3. Ck Acct # ***6176                                                                0.00                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 4. Ck Acct # ***9446                                                                0.00                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 5. Ck Acct # ***0077                                                       26,157.20                       0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 6. Ck Acct # ***9891                                                                0.00                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 7. Truck Security Deposit                                                     7,500.00                     0.00                             0.00               FA
    - Stay lifted by UMB 6/13/2019
 8. Security Deposit for St. Louis Property                                 13,377.90                 13,377.90                        13,377.90                FA
    - Appllied to chapter 7 and chapter 11 admin claims per
    10/30/19 Order #187
 9. Security Deposit for Old Chicago Property                               48,686.73                       0.00                             0.00               FA
    - Stay lifted by UMB 6/13/2019
 10. Security Deposit on Leased 2019 Peterbilt                                 7,500.00                     0.00                             0.00               FA
    - Stay lifted by UMB 6/13/2019
 11. Security Deposit to Buy Inventory                                         9,000.00                     0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 12. Prepayment - Credit Insurance                                              402.65                      0.00                             0.00               FA
    - Stay lifted by Traveler's 8/21/2019
 13. AR - 90 days old or less                                                        0.00                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 14. AR - over 90 days old                                                           0.00                   0.00                             0.00               FA
    - Ch 11 Cash Collateral
    - Stay lifted by UMB 6/13/2019
 15. Inventory - Slabs for Resale                                           Unknown                         0.00                             0.00               FA
    - Stay lifted by UMB 6/13/2019
 16. Inventory Purchased within 20 days                                              0.00                   0.00                             0.00               FA
    - $69,958.66
    - Stay lifted by UMB 6/13/2019
 17. Office Furniture                                                       15,000.00                       0.00                             0.00               FA




PFORM1                                                                                                                                                                Ver: 22.02f
             Case 19-31006-sgj7                     Doc 258       Filed 10/26/20 Entered 10/26/20 11:54:08                                              Desc Main
                                                                 DocumentFORMPage
                                                                               1  2 of 3
                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                           Page:      2
                                                                   ASSET CASES
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                                                                                            Estimated Net Value
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   - Stay lifted by UMB 6/13/2019
 18. Office Equipment -                                                     25,000.00                        0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 19. NEC Telephon Systems                                                      5,000.00                      0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 20. 2012 Chevrolet Silverado                                                        0.00                2,500.00                            2,500.00               FA
   - Sold per 6/2/2020 Order #234
 21. 24 Ft. Utility Trailer                                                          0.00                    0.00                                0.00               FA
   - Sale included in asset 20
 22. 2013 Honda Accord                                                               0.00                    0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 23. 2015 Toyota Camry                                                               0.00                    0.00                                0.00               FA
   - Lift Stay Order 174 entered 9/23/19
 24. 2015 Toyota Corolla                                                             0.00                    0.00                                0.00               FA
   - Lift Stay Order 189 entered 11/8/19
 25. 2015 Toyota Rav 4                                                               0.00                    0.00                                0.00               FA
   - Lift Stay Order 188 entered 10/30/19
 26. Lease - 2016 Range Rover                                                        0.00                    0.00                                0.00               FA
   - Lift Stay Order 185 entered 10/24/19
 27. Lease - 2019 Freightliner 114 SD                                                0.00                    0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 28. Lease - 2019 Peterbilt 348 Truck                                                0.00                    0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 29. Lease - 2015 Kenworth T680 Truck                                      112,459.80                        0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 30. 7 Forklifts                                                            70,000.00                        0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 31. Crane                                                                 100,000.00                        0.00                                0.00               FA
   - Fixture to Building
   - 1st Lien - Comerica Bank = $3M
   - 2nd Lien - UMB = $8M
   - Stay lifted by UMB 6/13/2019
 32. Racks and A-Frames                                                     36,000.00                        0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 33. Misc Warehouse Equipment                                               20,000.00                        0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 34. Carrollton, TX - Property Lease                                                 0.00                    0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 35. Rollimng Meadows, IL - Property Lease                                           0.00                    0.00                                0.00               FA
   - Stay lifted by UMB 6/13/2019
 36. St. Louis, MO - Property Lease                                                  0.00                    0.00                                0.00               FA
   - No Equity. Lease Rejected per 7/25/19 Order 150.
 37. Ch 5 Settlement with Principals (u)                                             0.00                    0.00                      200,000.00                   FA
   - Settlement approved per 10/7/2019 Court Order




PFORM1                                                                                                                                                                    Ver: 22.02f
             Case 19-31006-sgj7                     Doc 258       Filed 10/26/20 Entered 10/26/20 11:54:08                                     Desc Main
                                                                 DocumentFORMPage
                                                                               1  3 of 3
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              (Scheduled and Unscheduled (u) Property)                   Values           and Other Costs)    OA=554(a)         the Estate               Assets

                                                                                                                                               Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                        $496,084.29           $15,877.90                       $215,877.90                        $0.00
                                                                                                                                                 (Total Dollar Amount
                                                                                                                                                        in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 - Assets listed above are from chapter 11 schedules
   Debtor did not file convresion schedules per Local Rule 1019

 - UMB Bank, N.A. has a blanket lien on all assets.
   Lift Stay Order entered 6/13/19 at docket 123

 - Claims objections in process

 - Fee applications

 Initial Projected Date of Final Report (TFR): 05/29/21                Current Projected Date of Final Report (TFR): 05/29/21




PFORM1                                                                                                                                                           Ver: 22.02f
